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 5   Attorney for Defendant
     RAFAEL VELASCO
 6

 7                        IN THE UNITED STATES DISTRICT COURT

 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,           )     1:11-CR-00186 LJO
                                         )     STIPULATION AND ORDER
11                           Plaintiff, )      TO CONTINUE SENTENCING
                                         )     AND MODIFY SCHEDULE OF DISCLOSURE
12   v.                                  )
                                         )
13   RAFAEL VELASCO, et al.              )
                             Defendants. )
14                                       )
     __________________________________ )
15

16                                     STIPULATION

17         Plaintiff, United States of America, by and through its counsel,

18   Assistant United States Attorney Kimberly Sanchez and defendant, Rafael

19   Velasco, by and through his counsel, Erin J. Radekin, agree and stipulate to

20   vacate the date set for judgment and sentencing in the above-captioned

21   matter, November 18, 2013, at 11:00 a.m., and to continue judgment and

22   sentencing to December 16, 2013 at 11:00 a.m. in the courtroom of the

23   Honorable Lawrence J. O'Neill.

24         In addition, the parties stipulate to the following modification to the

25   schedule of disclosure:

26         Informal objections to the pre-sentence report         November 25, 2013

27         Final pre-sentence report                              December 2, 2013

28         Motion for correction of the pre-sentence report       December 9, 2013



                                        Stipulation - 1
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 2         Counsel and the United States Probation Officer assigned to this

 3   matter, Ross Micheli, have conferred and this continuance is requested to

 4   allow the defense to complete its investigation into matters pertinent to the

 5   factors under 18 U.S.C. § 3553(a).    Under the plea agreement, the defense is

 6   permitted to argue for a sentence as low as 12 years.      The Court has

 7   appointed mitigation expert, M.E. Greenberg, and a psychologist, Richard A.

 8   Blak, to assist Ms. Radekin with such investigation.      Ms. Greenberg, with the

 9   assistance of the paralegal appointed in this matter, Corby Eden, has already

10   interviewed multiple witnesses, and Ms. Radekin has forwarded records to Mr.

11   Blak so that he can begin the evaluation process.      Mr. Blak needs additional

12   time, however, to interview Mr. Velasco and complete his evaluation, and Ms.

13   Greenberg also needs additional time to complete all interviews of witnesses

14   and prepare her social history report.      The Court is advised that Ms. Sanchez

15   and Mr. Micheli have no opposition to the proposed dates set forth above, and

16   Ms. Sanchez has authorized Ms. Radekin to sign this stipulation on her

17   behalf.

18         Accordingly, the parties respectfully request the Court adopt this

19   proposed stipulation.

20   IT IS SO STIPULATED

21

22   Dated: October 23, 2013               BENJAMIN WAGNER
                                           United States Attorney
23
                                           By:     /s/ Erin J. Radekin for
24                                                 KIMBERLY SANCHEZ
                                                   Assistant United States Attorney
25

26   Dated: October 23, 2013                       /s/ Erin J. Radekin
                                                   ERIN J. RADEKIN
27                                                 Attorney for Defendant
                                                   RAFAEL VELASCO
28



                                          Stipulation - 2
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 1                                                       ORDER

 2                         For the reasons set forth in the accompanying stipulation and

 3   declaration of counsel, the date set for judgment and sentencing, November

 4   18, 2013, at 11:00 a.m. is VACATED and the above-captioned matter is set for

 5   judgment and sentencing on December 16, 2013 at 11:00 a.m. in the courtroom

 6   of the Honorable Lawrence J. O'Neill.

 7                         IT IS FURTHER ORDERED that the schedule of disclosure be modified as

 8   follows:

 9                         Informal objections to the pre-sentence report          November 25, 2013

10                         Final pre-sentence report                               December 2, 2013

11                         Motion for correction of the pre-sentence report        December 9, 2013

12

13                         IT IS SO ORDERED.
14
                                       Dated:   October 25, 2013            /s/ Lawrence J. O’Neill
15                                                          UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                                       Stipulation - 3
